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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                  SOUTHERN DIVISION
11
                                            )
12                                          )         Case No.: SACV 16-00634-CJC(DFMx)
                                            )
13
     RUDY URENA and VICTOR URENA, )
                                            )
14   on behalf of themselves and all others )
     similarly situated,                    )
15                                          )         ORDER DENYING PLAINTIFFS’
                                            )         MOTION FOR CLASS
16                Plaintiffs,               )         CERTIFICATION
                                            )
17         v.                               )
                                            )
18                                          )
     EARTHGRAINS DISTRIBUTION,              )
19
     LLC, and BIMBO BAKERIES USA,           )
                                            )
20   INC.,                                  )
                                            )
21                                          )
                  Defendants.               )
22                                          )
23

24
     I. INTRODUCTION
25

26
           Plaintiffs Rudy Urena and Victor Urena, on behalf of themselves and those
27
     similarly situated, bring this employment action against Defendants Earthgrains
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 1   Distributions, LLC (“Earthgrains”), and Bimbo Bakeries USA, Inc., alleging that
 2   Defendants mischaracterize them as independent contractors rather than employees. (See
 3   generally Dkt. 62.) Before the Court is Plaintiffs’ Motion for Class Certification. (Dkt.
 4   70-1.) For the reasons explained below, the motion is DENIED.
 5

 6   II. BACKGROUND
 7

 8         Earthgrains distributes breads and other baked goods, including those made by
 9   Defendant Bimbo Bakeries USA. (Dkt. 62 ¶ 14; see also Dkt. 70-9 ¶ 7 (indicating that
10   Bimbo Bakeries USA is Earthgrains’ parent company); Dkt. 81-1 ¶ 1 (single declarant for
11   both Defendants).) Earthgrains enters into distribution agreements with Distributors
12   which authorize and require Distributors to deliver baked goods to stores in a specific
13   sales area. (See Dkt. 81-1 ¶¶ 10–11; id. Ex. A § 2.1; Dkt. 70-9 ¶ 10.) Distributors
14   purchase products at “depots” and then re-sell them to customers in the service area.
15   (Dkt. 81-1 ¶ 11; Dkt. 70-9 ¶ 11.) Upon delivery, Distributors also rotate the stock at the
16   stores and remove stale (seven day-old) products. (Dkt. 70-9 ¶ 12.) Distributors then
17   return to the depot and unload stale products; they are charged by Earthgrains for any
18   stale products not timely removed from stores. (Id. ¶¶ 11–12.) Distributors also upload
19   sales data using electronics leased from Earthgrains. (Id. ¶ 11.)
20

21         Earthgrains has contracted with over 250 Distributors in California since February
22   23, 2013. (Dkt. 81-1 ¶ 10.) Those Distributors have purchased products from thirteen
23   different depots during that timeframe, three of which are unmanned. (Id. ¶ 13.)
24   Distributors are overseen by Territory Sales Managers (“TSMs”), who visit and inspect
25   stores in a Distributor’s sales area. (Dkt. 70-9 ¶ 13.) At ten of the depots, TSMs are also
26   present and they interact with Distributors. (Id. ¶ 14.) There have been more than two
27   dozen TSMs since February 2013. (Dkt. 81-1 ¶ 13.) In addition, meetings with
28


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 1   Distributors and TSMs occasionally occur at depots; at these meetings, TSMs inform
 2   Distributors about new products and review sales from the past year. (Dkt. 81-3 ¶ 28.)
 3

 4         Customers within a service area are categorized as either chains (e.g. Walmart) or
 5   independent. (Id. ¶ 20.) Chain customers generally negotiate with and remit payment to
 6   Earthgrains rather than individual Distributors. (See id. ¶ 21; Dkt. 70-9 ¶ 10 (Chains “are
 7   Earthgrains’ accounts: Earthgrains negotiates . . . over the significant economic terms,
 8   including product pricing, amount of shelf space, . . . and which products will be
 9   carried.”).) Independent customers, in contrast, typically negotiate with and pay
10   Distributors directly. (Dkt. 81-1 ¶ 24.) For Plaintiff-Distributor Rudy Urena, ninety to
11   ninety-five percent of his customers are chains; all of Plaintiff-Distributor Victor Urena’s
12   customers are chains. (Dkt. 70-9 ¶ 10; Dkt. 70-10 ¶ 10.)
13

14         Earthgrains’ computer system also “suggests” daily orders for each customer
15   within a Distributor’s sales area. (Dkt. 70-10 ¶ 15.) While Distributors can deviate from
16   that suggestion, Plaintiff Victor Urena’s TSM recommended that he not do so. (Id.)
17   Earthgrains can also unilaterally increase a Distributor’s order. (Id.)
18

19         Distributors can, without notifying Earthgrains, use workers to operate their
20   business, instead of distributing the products themselves. (Dkt. 81-1 ¶ 14.) Distributors
21   can service more than one service area, in which case they hire workers to service some
22   or all of their service areas. (See, e.g., Dkt. 81-6 ¶¶ 4–5, 9 (three sales areas, two hired
23   workers); Dkt. 81-7 ¶¶ 6 (two sales areas, two hired workers).) Other Distributors work a
24   few days a week while relying on workers to service their sales areas the rest of the time.
25   (See, e.g., Dkt. 81-10 ¶¶ 15–16 (Distributor relies on hired workers on Sundays and
26   Wednesdays, as well as annual vacation); Dkt. 81-14 ¶¶ 14–16 (same).) In addition, the
27   distribution agreements authorize Distributors to perform non-competitive work for other
28   companies. (Dkt. 81-1 ¶ 15.)

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 1         Plaintiffs’ operative Complaint seeks to certify a class of “All persons who are or
 2   have operated as bakery goods Delivery Drivers for DEFENDANTS in the State of
 3   California under a ‘Distribution Agreement’ or a similar written contract that they entered
 4   into on behalf of themselves or entities in which they have an ownership interest (referred
 5   to as ‘Delivery Drivers’) during the period commencing February 26, 2012 through trial
 6   in this action.” (Dkt. 62 ¶ 39.) There are three distribution agreements that were in
 7   effect for Distributors during that timeframe—a 2013 agreement, a 2014 agreement, and
 8   a 2016 agreement. (Dkt. 81-1 ¶ 6.) The vast majority of Distributors—225 out of 288—
 9   operate(d) under the 2013 agreement. (Dkt. 70 Ex. 1.)
10

11         The distribution agreements last for ten years. (Dkt. 81-1 Ex. A § 2.5, Ex. B § 3.1,
12   Ex. C § 3.1.) Each specifies that the Distributors are independent contractors. (Id. Ex. A
13   § 2.2, Ex. B § 2.2, Ex. C § 2.2.) When a Distributor is in breach of the distribution
14   agreement, Earthgrains may issue it a breach letter. (Id. ¶ 27.) Approximately 140
15   breach letters have been issued in the last two years, but only two distribution agreements
16   have been terminated. (Id. ¶ 28.)
17

18         Breaching the distribution agreement also authorizes Earthgrains to terminate the
19   contract once the right to cure is exhausted. (Id. Ex. A §§ 9.1, 9.3, Ex. B §§ 11.1, 11.3,
20   Ex. C §§ 11.1, 11.3.) The 2013 distribution agreement gives Earthgrains the right to
21   terminate the agreement without giving a Distributor the right to cure if a breach
22   involves, inter alia, criminal activity, fraud, or threatens public health. (Id. Ex. A § 9.2.)
23   In contrast, the 2014 and 2016 agreements give Earthgrains the right to terminate the
24   agreement on the basis of good cause, defined to include failure to timely cure a breach,
25   chronic breaches, or dishonesty. (Id. Ex. B § 11.2, Ex. C § 11.2.) The 2013 agreement
26   also gives Earthgrains the right to buy back all or a portion of a Distributor’s distribution
27   rights for a set price at any time after one year into the performance period. (Id. Ex. A §
28   7.3.) The 2014 and 2016 agreements specify a set price for such a transaction, but state

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 1   that such a transaction can only occur with the consent of the Distributor. (Id. Ex. B §
 2   9.8, Ex. C § 9.8.)
 3

 4   III. LEGAL STANDARD
 5

 6         Under Federal Rule of Civil Procedure 23, district courts have broad discretion to
 7   determine whether a class should be certified. Armstrong v. Davis, 275 F.3d 849, 871
 8   n.28 (9th Cir. 2001). As a threshold matter, “plaintiffs must first define an ascertainable
 9   and identifiable class.” Thomas & Thomas Rodmakers, Inc. v. Newport Adhesives &
10   Composites, Inc., 209 F.R.D. 159, 163 (C.D. Cal. 2002); Schwartz v. Upper Deck Co.,
11   183 F.R.D. 672, 679–80 (S.D. Cal. 1999) (“Although there is no explicit requirement
12   concerning the class definition in FRCP 23, courts have held that the class must be
13   adequately defined and clearly ascertainable before a class action may proceed.”); but see
14   Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1126 (9th Cir. 2017) (declining to
15   impose separate administrative feasibility requirement for class certification).
16

17         The party seeking class certification also bears the burden of showing that each of
18   the four requirements of Rule 23(a) and at least one of the requirements of Rule 23(b) are
19   met. Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186 (9th Cir. 2001). Rule 23
20   is not merely a pleading standard—a party seeking class certification must affirmatively
21   demonstrate compliance with the Rule by proving the requirements in fact. Wal-Mart
22   Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). Rule 23(a) provides that a case is
23   appropriate for certification as a class action if: “(1) the class is so numerous that joinder
24   of all members is impracticable; (2) there are questions of law or fact common to the
25   class; (3) the claims or defenses of the representative parties are typical of the claims or
26   defenses of the class; and (4) the representative parties will fairly and adequately protect
27   the interests of the class.” These four requirements are often referred to as numerosity,
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 1   commonality, typicality, and adequacy. See General Tel. Co. v. Falcon, 457 U.S. 147,
 2   156 (1982).
 3

 4         Rule 23(b) defines different types of classes. Leyva v. Medline Indus. Inc., 716
 5   F.3d 510, 512 (9th Cir. 2012). In this case, Plaintiffs seek certification pursuant to Rule
 6   Rule 23(b)(3). (Dkt. 62 ¶ 39.) Rule 23(b)(3) allows certification where “the court finds
 7   that questions of law or fact common to the members of the class predominate over any
 8   questions affecting only individual members, and that a class action is superior to other
 9   available methods for the fair and efficient adjudication of the controversy.” The matters
10   pertinent to these findings include: (A) the class members’ interests in individually
11   controlling the prosecution or defense of separate actions; (B) the extent and nature of
12   any litigation concerning the controversy already begun by or against class members; (C)
13   the desirability or undesirability of concentrating the litigation of the claims in the
14   particular forum; and (D) the likely difficulties in managing a class action. Fed. R. Civ.
15   P. 23(b)(3)(A)–(D).
16

17   IV. DISCUSSION
18

19         Plaintiffs’ motion for class certification seeks to certify the following class:
20

21
                   All persons who have, during the period commencing February
                   23, 2013 through trial in this action, served as “Distributors” by
22                 personally delivering and/or merchandising products in the
23
                   State of California under a “Distribution Agreement” with
                   Earthgrains Distribution, LLC that they entered into on behalf
24                 of themselves or entities in which they have an ownership
25
                   interest.

26

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 1   (Dkt. 70-1 at 3.1) This class does not meet the requirements of Rule 23(b)(3)—class-
 2   wide issues do not predominate over individual issues nor is a class action a superior
 3   vehicle for resolving Plaintiffs’ claims.2
 4

 5          A. Predominance
 6

 7          Rule 23(b)(3) requires that “the court finds that questions of law or fact common to
 8   the members of the class predominate over any questions affecting only individual
 9   members. This “predominance inquiry tests whether proposed classes are sufficiently
10   cohesive to warrant adjudication by representation.” Amchem Prods., Inc. v. Windsor,
11   521 U.S. 591, 623 (1997). Predominance is a similar inquiry to commonality, but
12   requires a heightened showing that facts and issues common to the class predominate
13   over any individual issues that might be present. See Fed. R. Civ. P. 23(b)(3); Hanlon v.
14   Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). The main concern is the “balance
15   between individual and common issues.” Mevorah v. Wells Fargo Home Mortg. (In re
16   Wells Fargo Home Mortg. Overtime Pay Litig.), 571 F.3d 953, 959 (9th Cir. 2009).
17   However, Rule 23(b)(3) “does not require a plaintiff seeking class certification to prove
18   that each ‘elemen[t] of [her] claim [is] susceptible to classwide proof.’” Id. at 1196
19   (modifications in original). It also does not require a showing that “questions common to
20   the class . . . will be answered, on the merits, in favor of the class.” Amgen Inc. v.
21   Connecticut Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1191 (2013).
22
     1
23     The Court notes that this class definition is materially different from the definition in the operative
     Complaint. (Compare id. with Dkt. 62 ¶ 39 (“All persons who are or have operated as bakery goods
24   Delivery Drivers for DEFENDANTS in the State of California under a “Distribution Agreement” or a
     similar written contract that they entered into on behalf of themselves or entities in which they have an
25   ownership interest (referred to as ‘Delivery Drivers’) during the period commencing February 26, 2012
     through trial in this action.”).) No explanation is given for the discrepancy. Accordingly, Plaintiffs’
26
     motion is procedurally improper—if Plaintiffs wished to change the definition of the proposed class that
27   they would seek certification for, they should have sought leave from this Court to file another amended
     complaint that contained a precise definition for their new proposed class.
     2
28     Since Rule 23(b)(3)’s requirements are not met, it is unnecessary to consider Rule 23(a)’s
     requirements.
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 1         The predominance inquiry begins with the elements of the underlying causes of
 2   action. Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011). All of
 3   Plaintiffs’ causes of action are predicated on the claim that Distributors such as
 4   themselves are miscategorized by Defendants as independent contractors when, in
 5   actuality, they are Defendants’ employees. (See generally Dkt. 62.)
 6

 7         In determining a worker’s legal classification as either “employee” or
 8   “independent contractor,” the principal test in California is “whether the person to whom
 9   service is rendered has the right to control the manner and means of accomplishing the
10   result desired.” Alexander v. FedEx Ground Package Sys., Inc., 765 F.3d 981, 988 (9th
11   Cir. 2014) (citation omitted).
12

13         While the right-to-control test is the touchstone of worker classification, California
14   law also considers several secondary factors, often termed the Borello factors after the
15   eponymous case in which the factors were first articulated:
16

17
                  (a) whether the one performing services is engaged in a distinct
                  occupation or business; (b) the kind of occupation, with
18                reference to whether, in the locality, the work is usually done
19
                  under the direction of the principal or by a specialist without
                  supervision; (c) the skill required in the particular occupation;
20                (d) whether the principal or the worker supplies the
21
                  instrumentalities, tools, and the place of work for the person
                  doing the work; (e) the length of time for which the services are
22                to be performed; (f) the method of payment, whether by the
23
                  time or by the job; (g) whether or not the work is a part of the
                  regular business of the principal; and (h) whether or not the
24                parties believe they are creating the relationship of employer-
25
                  employee.

26   S. G. Borello & Sons, Inc. v. Dep’t of Indus. Relations, 48 Cal. 3d 341, 351 (1989). “The
27   individual factors cannot be applied mechanically as separate tests; they are intertwined
28   and their weight depends often on particular combinations.” Id. at 404 (citation omitted).

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 1                1. Right to Control
 2

 3         Facts and issues common to the proposed class do not predominate over issues
 4   specific to each Distributor regarding Defendants’ right to control Distributors. “[W]hat
 5   matters . . . is not how much control a hirer exercises, but how much control the hirer
 6   retains the right to exercise.” Ayala v. Antelope Valley Newspapers, Inc., 59 Cal. 4th
 7   522, 533 (2014) (emphasis in original). The critical question is whether Defendants
 8   retained “all necessary control” over the Distributors’ operations. Id. at 513. “The fact
 9   that a certain amount of freedom of action is inherent in the nature of the work does not
10   change the character of the employment where the employer has general supervision and
11   control over it.” Id. at 531 (citations and quotations omitted).
12

13         Where, as here, the extent of the right of control is determined by contract, any
14   applicable contracts are the “necessary starting point” for the analysis. Id. at 535.
15   “[W]ithout a full examination of the contract[s],” determining predominance for right of
16   control is “virtually impossible.” Id. at 535.
17

18         “Perhaps the strongest evidence of the right to control is whether the hirer can
19   discharge the worker without cause, because the power of the principal to terminate the
20   services of the agent gives him the means of controlling the agent’s activities.” Id. at 531
21   (quotation omitted); see also Borello, 48 Cal. 3d at 350 (“[S]trong evidence in support of
22   an employment relationship is the right to discharge at will, without cause.”) (quotation
23   omitted). The contractual evidence on termination here varies because there are
24   significant differences between the termination provisions in the applicable distribution
25   agreements. The 2013 distribution agreement allows termination without right to cure for
26   breaches by Distributors that involve “criminal activity, fraud, threa[ts to] public health
27   or safety, constitute[] an abandonment of any portion of the Sales Area, or threatens to do
28   significant harm” to Defendants and their brand, (Dkt. 81-1 Ex. A § 9.2). In contrast, the

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 1   2014 and 2016 agreements state that non-curable breach occurs if there is good cause,
 2   which is defined as including, but not being limited to failure to timely cure any breach;
 3   chronic breaches; Distributor actions or failures to act in any manner that threatens public
 4   health or safety or to do significant harm to Defendants; any act of dishonesty, violence,
 5   or threat of violence, or unlawful or criminal activity; and material misrepresentation by a
 6   Distributor to induce Defendants to enter into the distribution agreement. (Dkt. 81-1 Ex.
 7   B § 11.2, Ex. C § 11.2.)
 8

 9         Additionally, the 2013 distribution agreement gives Defendants the unilateral right
10   to purchase part or all of a Distributor’s distribution rights at any time one year after the
11   agreement’s consummation for a pre-set price. (Dkt. 81-1 Ex. A § 7.3.) The buyout
12   provision in the 2014 and 2016 agreements is substantially different—rather than being a
13   unilateral right held by Defendants and in existence one year after the contract is
14   consummated, buyout requires a Distributor’s consent and can occur at any time. (Dkt.
15   81-1 Ex. B § 9.8, Ex. C § 9.8.)
16

17         The narrower, delineated grounds for termination in the 2013 agreement indicates
18   that Distributors under that agreement have significantly more autonomy than
19   Distributors under the 2014 and 2016 agreements, who are subject to broader, open-
20   ended grounds for termination. That divergence is slightly tempered by Defendants’
21   unilateral right to buy back the distribution rights held by 2013-agreement Distributors, in
22   contrast with the more limited buyback authority Defendants have under the 2014 and
23   2016 agreements. Nevertheless, the termination provisions are sufficiently different to
24   preclude class-wide common proof. It is also notable that neither standard gives
25   Defendants carte blanche authority to terminate Distributors without cause, which is
26   consistent with an independent contractor relationship.
27

28   //

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 1         In addition to divergent termination provisions, three other differences between the
 2   distribution agreements preclude a finding that the common question of right of control
 3   predominates over individualized issues. First, the 2013 agreement requires Distributors
 4   to conduct their business “in accordance . . . with all instructions, rules, and procedures
 5   which may be prescribed by [Defendants]” including compliance with Defendants’
 6   Operational Guidelines Manual. (Dkt. 81-1 Ex. A §§ 2.1, 5.3.) The only remotely
 7   comparable provision in the 2014 and 2016 agreements is that Defendants “may from
 8   time to time implement and/or amend programs regarding Product deliveries and/or
 9   Product accountability, including depot hours of operation and check in procedures.
10   Distributor agrees to reasonably cooperate and comply with such programs.” (Id. Ex. B §
11   4.4, Ex. C § 4.4.) That difference is highly significant to evaluating Defendants’ right of
12   control—Distributors under the 2014 and 2016 agreements at least arguably have far
13   more autonomy and decision-making authority than those under the 2013 agreement.
14

15         Second, the 2013 agreement gives Defendants the right to “monitor” Distributors’
16   performance and the satisfaction of customers serviced by Distributors, while the 2014
17   and 2016 agreements only state that Defendants have the right to “review” Distributors’
18   performance of the agreement. (Compare id. Ex. A § 5.1 with id. Ex. B § 6.1, Ex. C
19   § 6.1.) Once again, Distributors under the 2014 and 2016 agreements have greater
20   autonomy insofar as Defendants’ oversight is more restricted than it is over Distributors
21   operating under the 2013 agreement.
22

23         Third, the 2013 agreement explicitly states that, in negotiating pricing and other
24   details with chains, Defendants are acting in their own interest and “not acting as the
25   agent or joint venturer” of Distributors. (Id. Ex. A § 5.2.) In contrast, the 2014 and 2016
26   agreements characterize Defendants’ negotiations with chains as occurring at least in part
27   at the request of Distributors and state that, in such negotiations, Defendants are
28   appointed by Distributors to act as their non-exclusive representative. (Id. Ex. B. § 8.2,

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 1   Ex. C § 8.2.) This distinction is also significant to the right-to-control analysis because
 2   Defendants acting as Distributors’ representatives limits Distributors’ autonomy vis-à-vis
 3   chains, who are often the most significant customers in a Distributor’s sales area.
 4

 5         Because of these significant contractual differences among Distributors in the
 6   class, the critical factor of whether Defendants retain all necessary control is not a
 7   common question that predominates over individual issues. Rather, determining whether
 8   this most significant factor supports an employment relationship would require extensive,
 9   Distributor-specific proof and a series of mini-trials.
10

11                2. Secondary Borello Factors
12

13         As with Defendants’ right to control the Distributors, facts and issues regarding six
14   of the eight secondary Borello factors are in whole or in part not subject to common
15   proof. Rather, analysis of the secondary Borello factors will need to be litigated on an
16   individual basis.
17

18         The first secondary Borello factor, whether or not the Distributors perform a
19   distinct occupation or business, is not amenable to common proof. “If a worker is
20   engaged in a distinct occupation or business, then that would suggest that the worker is an
21   independent contractor rather than an employee.” Harris v. Vector Mktg. Corp., 656 F.
22   Supp. 2d 1128, 1138–39 (N.D. Cal. 2009). However, “[a] finding of employment is
23   supported where the workers are ‘a regular and integrated portion of [the] business
24   operation.’” Garcia v. Seacon Logix, Inc., 238 Cal. App. 4th 1476, 1487 (2015) (quoting
25   Borello, 48 Cal. 3d at 357).
26

27         Notably, the 2014 and 2016 agreements state that the Distributors are in a separate
28   occupation from Defendants, but that concession is absent from the 2013 agreement.

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 1   (Compare Dkt. 81-1 Ex. A with id. Ex. B at 1 and id. Ex. C at 1.) The extent to which
 2   Distributors hold themselves out as a business separate from Defendants’ business also in
 3   large part depends on the number of sales areas a Distributor services and the extent to
 4   which they rely on hired workers versus servicing the service areas personally. (See, e.g.,
 5   Dkt. 81-6 ¶¶ 4–5, 9 (three sales areas, two hired workers); Dkt. 81-7 ¶¶ 6 (two sales
 6   areas, two hired workers); Dkt. 81-10 ¶¶ 15–16 (Distributor relies on hired workers on
 7   Sundays and Wednesdays, as well as annual vacation); Dkt. 81-14 ¶¶ 14–16 (same); Dkt.
 8   81-11 ¶¶ 5–6 (Distributor personally delivers products approximately five weeks per
 9   year).) Another relevant difference between Distributors is the extent to which they make
10   deliveries for companies other than Defendants, if they do so at all. (E.g., Dkt. 81-12 ¶
11   29 (Distributor also runs cookie distribution).) Overseeing a fleet of delivery trucks and
12   supervising numerous workers who deliver various products to various customers is
13   comparatively more distinct from Defendants than a solo Distributor who personally
14   services one service area with exclusively Defendants’ products. See Antelope Valley
15   Press v. Poizner, 162 Cal. App. 4th 839, 854 (2008), as modified on denial of reh’g (May
16   30, 2008); Garcia, 238 Cal. App. 4th at 1487.
17

18         The second secondary Borello factor, the extent of Defendants’ supervision over
19   Distributors, must be litigated on an individual basis. “If the type of work performed is
20   usually done under an employer’s direction, it suggests an employer-employee
21   relationship; if the work is usually done by a specialist without supervision, it suggests an
22   independent contractor relationship. . . . [W]here a plaintiff can determine her own day-
23   to-day hours, including her vacations and on most days, fix the time for her arrival and
24   departure at her office and elsewhere, including lunch and breaks, that suggests an
25   independent-contractor status.” Hennighan v. Insphere Ins. Sols., Inc., 38 F. Supp. 3d
26   1083, 1103 (N.D. Cal. 2014), aff’d, 650 F. App’x 500 (9th Cir. 2016) (quotations and
27   citations omitted). As supervision is “largely duplicative of the control factor,” Harris,
28   656 F. Supp. 2d at 1139, the differences between distribution agreements identified above

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 1   will apply to analysis of this factor as well. As with the distinct business factor discussed
 2   above, Defendants’ supervision of Distributors also depends on whether a Distributor
 3   relies on hired workers and the extent to which Distributors personally deliver
 4   Defendants’ product to customers, since Defendants do not interact with hired workers
 5   but they do interact with Distributors. (See, e.g., Dkt. 81-10 ¶ 16; Dkt. 81-11 ¶¶ 5–6.)
 6   And supervision also varies by Distributor depending on, inter alia, (1) whether the depot
 7   from which a Distributor purchases products is staffed by TSMs representing Defendants
 8   or is unstaffed, (Dkt. 81-1 ¶ 13), and (2) the proportion of chain stores within a given
 9   Distributor’s sales area, since Defendants negotiate the terms of servicing chains and the
10   distribution agreement mandates that Distributors service chain customers in their sales
11   area if the chains are profitable to Defendants on the whole, regardless of whether a
12   particular chain in a particular area is profitable to a particular Distributor, (id. Ex. A §§
13   4.2, 5.2; id. Ex. B §§ 6.3, 8.2; id. Ex. C §§ 6.3, 8.2).
14

15         The third secondary Borello factor, the skill required to be a Distributor, is also
16   individualized. “Where no special skill is required of a worker, that fact supports a
17   conclusion that the worker is an employee instead of an independent contractor.” Harris,
18   656 F.Supp.2d at 1139. Distributors whose sales area is primarily or entirely chains, like
19   the Plaintiff, (Dkt. 70-9 ¶ 10 (ninety to ninety-five percent chains); Dkt. 70-10 ¶ 10 (one
20   hundred percent chains)), do not have to engage in as much entrepreneurship as
21   Distributors who service a large number of independent customers. When servicing
22   chains, a Distributor’s marginal talents and his or her particular relationships with and
23   satisfaction of managers of particular stores are also comparatively more attenuated from
24   that Distributor’s compensation and success. Distributors who service more than one
25   service area or who rely occasionally, partially, or entirely on hired help to make
26   deliveries also require greater skill at management and efficiency to succeed.
27

28   //

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 1         The fourth secondary Borello factor, whether or not Distributors furnish the
 2   instrumentalities and tools for their work, also can not be demonstrated with common
 3   proof. “Where the defendant did not furnish the majority of the tools and
 4   instrumentalities nor a place to work, this fact weighs in favor of finding an independent-
 5   contractor relationship. Where a plaintiff used his own car, purchased its gas . . . and
 6   liability insurance, and received no standard employee benefits, he is likely an
 7   independent contractor.” Hennighan, 38 F. Supp. 3d at 1103–04 (citations and quotations
 8   omitted). Here, some Distributors choose to lease their vehicles from Defendants while
 9   others use or purchase their own vehicles. (Compare Dkt. 81-8 ¶ 3 and Dkt. 81-9 ¶ 6
10   with Dkt. 81-5 ¶¶ 3–4.)
11

12         The fifth secondary Borello factor, the length of the relationship between
13   Distributors and Defendants, differs between distribution agreements and therefore also is
14   not uniform class-wide. “Where a worker is employed for a lengthy period of time, the
15   relationship with the employer looks more like an employer-employee relationship.”
16   Harris, 656 F. Supp. 2d at 1140; see also Narayan v. EGL, Inc., 616 F.3d 895, 902–03
17   (9th Cir. 2010) (“Significantly, the contracts signed by the plaintiff Drivers contained
18   automatic renewal clauses and could be terminated by either party upon thirty-days notice
19   or upon breach of the agreement. Such an agreement is a substantial indicator of an at-
20   will employment relationship.”). “[T]he notion that an independent contractor is
21   someone hired to achieve a specific result that is attainable within a finite period of time,
22   such as plumbing work, tax service, or the creation of a work of art for a building’s
23   lobby, is at odds with [individuals] who are engaged in prolonged service [for a particular
24   company].” Antelope Valley, 162 Cal. App. 4th at 855.
25

26         All three distribution agreements have a ten year term. (Dkt. 81-1 Ex. A § 2.5, Ex.
27   B § 3.1, Ex. C § 3.1.) However, the 2013 distribution agreement specifies that
28   Distributors have the option to seek reappointment as Distributors following the

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 1   expiration of the agreement according to the terms of the then-current distribution
 2   agreement and provided that, inter alia, the Distributor is in compliance with the
 3   agreement and has not received three or more breach letters within any twelve-month
 4   period. (Id. Ex. A §§ 2.6–2.7). In contrast, the 2014 and 2016 agreements automatically
 5   renew at the end of the ten year term, unless good cause exists for terminating the
 6   agreement or Distributors notify Defendants of their desire to renew, Defendants provide
 7   Distributors with a new distribution agreement, and Distributors sign it. (Id. Ex. B § 3.2,
 8   Ex. C § 3.2.)
 9

10         The sixth secondary Borello factor, the method of payment, is amenable to class-
11   wide proof. “Where the worker is paid by the hour, it typically suggests an employment
12   relationship; where the worker is paid by the job, it points toward independent
13   contractor.” Hennighan, 38 F. Supp. 3d at 1104 (quotation omitted); see also Antelope
14   Valley Press, 162 Cal. App. 4th at 855 (method of payment supported presence of an
15   employment relationship when “remuneration [was] in very large part dependent on
16   nonnegotiated financial terms in the contract rather than on the [worker’s] initiative,
17   judgment or managerial abilities”). Distributors are uniformly paid by the quantity of
18   product that they sell to customers, not by the length of time it takes them to service those
19   customers. (See, e.g., Dkt. 70-8.) And that, in turn, depends on each Distributor’s
20   entrepreneurship. (See, e.g., Dkt. 81-3 ¶ 8 (“I was able to increase my sales so
21   significantly by going out and getting sales, merchandizing, and building relationships
22   with my customers’ store managers.”).)
23

24         The seventh secondary Borello factor, whether the work is an integral part of the
25   principal’s regular business, is uniform across the proposed class. “[P]ermanent
26   integration of [workers] into the heart of [the principal’s] business is a strong indicator
27   that [the principal] functions as an employer.” Borello, 48 Cal. 3d at 357; see also
28   Alexander, 765 F.3d at 996 (workers providing services “essential” to a principal’s “core

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 1   business” support an employment relationship). Distributors’ role and significance in
 2   Defendants’ business is uniform across Distributors since it turns on how integral the
 3   servicing of customers and delivery of Defendants’ products are to Defendants.
 4

 5         The eighth secondary Borello factor, the parties’ belief as to their relationship
 6   status, is by definition individualized. “What is important under this Borello factor is not
 7   the particular legal label attached (expressly or implicitly) by the parties to the
 8   relationship, rather, it is their understanding as to the nature of that relationship as a
 9   matter of fact.” O’Connor v. Uber Techs., Inc., No. C-13-3826 EMC, 2015 WL
10   5138097, at *27 (N.D. Cal. Sept. 1, 2015); see also Hennighan, 38 F. Supp. 3d at 1104
11   (“Mere labels set out in an agreement do not establish the existence or non-existence of
12   an employer-employee relationship.”). While all Distributors operate under distribution
13   agreements attesting to their being independent contractors, (Dkt. 81-1 Ex. A § 2.2, Ex. B
14   § 2.2, Ex. C § 2.2), the disagreement between Plaintiffs and other Distributors regarding
15   the nature of their relationship with Defendants demonstrates that complete analysis of
16   this factor will require Distributor-specific evidence, (compare Dkt. 70-9 ¶ 5 and Dkt. 70-
17   10 ¶ 5 with, e.g., Dkt. 81-10 ¶¶ 20–21 (“I am running a business and I like being
18   independent. I understand that the plaintiffs in this lawsuit believe that they were
19   Earthgrains employees. That is laughable to me.”).
20

21         Finally, on top of individualized evidence being necessary to analyze the
22   secondary Borello factors, the same Distributor-specific variables will mandate
23   individualized analysis of the factors as a whole. “The individual factors cannot be
24   applied mechanically as separate tests; they are intertwined and their weight depends
25   often on particular combinations.” Borello, 48 Cal. 3d at 404. Particular combinations of
26   distributor agreement, type of depot, proportion of chains, number of sales areas,
27   ownership of vehicles, and the use of employees will lead to different secondary factors
28   weighing more or less when they are analyzed as a whole.

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 1          Simply stated, facts and issues common to the class regarding Distributors’
 2   classification as independent contractors do not predominate over the myriad of
 3   individual issues that are present.3
 4

 5                  2. Superiority
 6

 7          “The purpose of the superiority requirement is to assure that the class action is the
 8   most efficient and effective means of resolving the controversy.” Wolin v. Jaguar Land
 9   Rover N. Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010) (quoting 7AA Charles Wright,
10   Arthur Miller & Mary Kay Kane, Federal Practice and Procedure, § 1779 at 174 (3d ed.
11   2005)). The superiority inquiry “requires the court to determine whether maintenance of
12   this litigation as a class action is efficient and whether it is fair.” Id. at 1175–76; see also
13   Fed. R. Civ. P. 23(b)(3)(D) (stating that “the likely difficulties in managing a class
14   action” is pertinent to the superiority inquiry). The inquiry “necessarily involves a
15   comparative evaluation of alternative mechanisms of dispute resolution,” Hanlon, 150
16   F.3d at 1023, and focuses “on the efficiency and economy elements of the class action,”
17   Zinser, 253 F.3d at 1190; see also Briseno, 844 F.3d at 1128. “Superiority must be
18   looked at from the point of view (1) of the judicial system, (2) of the potential class
19   members, (3) of the present plaintiff, (4) of the attorneys for the litigants, (5) of the public
20   at large and (6) of the defendant. The listing is not necessarily in order of importance of
21   the respective interests. Superiority must also be looked at from the point of view of the
22
     3
23     As Distributors’ purported miscategorization is a predicate of Plaintiffs’ other claims, it is unnecessary
     to determine whether issues common to the class will predominate over individual issues in analysis of
24   those claims. The Court notes, however, that Defendants have identified various defenses to those
     claims that would need to be analyzed for each Distributor. (See Dkt. 80 at 26–29). For example, a
25   Distributor who supervises workers and delivers in numerous service areas may not be able to recover
     for a meal or rest break claim under the administrative or executive exemptions to California’s
26
     employment laws. See Cal. Wage Order 1-2001 §§ 1(A)(1),(2). Another defense that Defendants could
27   raise that could not be analyzed class-wide arises from the fact that the 2013 distribution agreement
     includes voluntary mediation before litigation whereas the 2014 and 2016 distribution agreements
28   mandate binding arbitration and include an express class action waiver. (Compare Dkt. 81-1 Ex. A Art.
     12 with id. Ex. B Art. 13 and id. Ex. C Art. 13.)
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 1   issues.” Bateman v. Am. Multi-Cinema, Inc., 623 F.3d 708, 713 (9th Cir. 2010) (quoting
 2   Kamm v. Cal. City Dev. Co., 509 F.2d 205, 212 (9th Cir. 1975)); see also Fed. R. Civ. P.
 3   23 advisory committee’s note to 1966 amendment, 39 F.R.D. 69, 102–03 (1966)
 4   (“Subdivision (b)(3) encompasses those cases in which a class action would achieve
 5   economies of time, effort, and expense, and promote uniformity of decision as to persons
 6   similarly situated, without sacrificing procedural fairness or bringing about other
 7   undesirable results.”).
 8

 9         The Court is convinced that managing this case as a class action would likely be
10   quite difficult and consume extensive judicial resources. The proposed class definition
11   will require detailed, individualized inquiries to determine whether a particular
12   Distributor is a class member. For example, Plaintiffs provide no guidance whether a
13   Distributor who services two sales areas, one personally and one through hired help, with
14   the use of one vehicle financed by Defendants and the other personally owned, would be
15   in the class. And once the class members are identified, the Court will have to make
16   entirely separate inquiries as to miscategorization based on the different distribution
17   agreements. On top of that, the Court’s analysis will be further severely fractured based
18   on the myriad of individualized facts and factors relevant to employee status, such as the
19   chain/individual customer ratio in each sales area and whether a Distributor purchases
20   Defendants’ products at TSM-staffed depots, unstaffed depots, or some combination
21   thereof.
22

23         Heavy administrative burdens, in a vacuum, do not justify a finding that superiority
24   is not met. Rather, the Court must also consider whether there are realistic alternatives to
25   class treatment. See Briseno, 844 F.3d at 1128; Valentino v. Carter-Wallace, Inc., 97
26   F.3d 1227, 1234–35 (9th Cir. 1996). A predicate to considering such alternatives is
27   determining whether there is a critical mass of aggrieved parties whose rights could be
28   efficiently vindicated through class action litigation. Plaintiffs have wholly failed to

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 1   present sufficient argument and evidence to allow the Court to conclude that such a
 2   critical mass exists. In addition to their own declarations, which attest to their belief that
 3   they were Defendants’ employees, (Dkt. 70-9 ¶ 5; Dkt. 70-10 ¶ 5), they offer two
 4   declarations from current Distributors and three from former distributors, (Dkts. 70-11,
 5   70-12, 70-13, 70-14, 70-15). While those five declarations attest to facts consistent with
 6   Plaintiffs’ argument that Distributors are employees, none of them explicitly states that
 7   the declarant believed he or she was Defendants’ employee. (See id.) Instead, one of
 8   them conceded in his deposition that he was an independent contractor, (see Dkt. 81-17 at
 9   9), another admitted that he had not read the entire declaration and that he knowingly and
10   comfortably signed his distribution agreement with Defendants including a provision
11   stating that he was an independent contractor, (see Dkt. 81-22 at 36, 47), and two more
12   previously signed declarations submitted by Defendants’ predecessor in equivalent
13   litigation and in which they attested to being independent contractors, (see Dkt. 81-29
14   ¶ 11; Dkt. 84-7 at 110–11; but see Dkt. 84-8 at 15 (declarant’s deposition testimony
15   potentially indicating that declaration was signed under duress); Dkt. 84-7 at 111
16   (declarant’s deposition testimony that his belief at that time was incorrect in hindsight)).
17

18         Defendants, on the other hand, submitted twelve declarations from current
19   Distributors who all, and many vehemently, attest to understanding and believing that
20   they are independent contractors. (See Dkt. 81-3 ¶¶ 1, 16 (“I am an Independent
21   Operator, which means I own a business engaged in buying and selling products of
22   Earthgrains. . . . I run my route myself.”); Dkt. 81-4 ¶¶ 1, 9, 19, 25 (“When I signed a
23   distribution agreement, I knew what I was getting into—I knew that I was an independent
24   contractor and not an employee. . . . Earthgrains had no say in how my business hired,
25   disciplined, or fired its employees, and has no say in how my business pays them—they
26   can’t, because I am independent . . . . I like having the flexibility of being self-employed.
27   . . . I understand that the plaintiffs in this lawsuit claim that they should have been
28   classified as employees of Earthgrains. That is not my view—we all know what we are

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 1   getting into when we buy distributorships. . . . I like running my own business, and I
 2   would not want to be an employee.”); Dkt. 81-5 ¶¶ 1, 26 (“When I signed a distribution
 3   agreement, I knew that I was an independent contractor and not an employee. . . . I
 4   honestly don’t know why these guys are filing a lawsuit. I love running my own
 5   business. I am my own boss.”); Dkt. 81-6 ¶¶ 1, 30 (“And no Earthgrains representative
 6   has ever tried to discipline me or even threatened to do so—they know they can’t because
 7   I am independent.”); Dkt. 81-7 ¶ 21 (“I am happy to be independent; I am not good when
 8   I have a boss telling me how to work. I like to set my own schedule and and take breaks
 9   whenever I want to stop and get coffee, eat lunch, etc. No one controls me. The
10   plaintiffs who want to be employees do not represent my views.” ); Dkt. 81-8 ¶ 25 (“I am
11   really glad that I made the switch from being an employee to an [independent operator].
12   Buying a route is like buying a house, it builds equity.”); Dkt. 81-9 ¶ 20 (“I take
13   responsibility for and pride in operating my business. . . . I am an independent business
14   owner and am treated as such by Earthgrains.”); Dkt. 81-10 ¶¶ 1, 20–21 (“[E]veryone
15   who signs up knows that they are not employees. . . . I like what I do. . . . I like being
16   self-employed. . . . I am running a business and I like being independent. I understand
17   that the plaintiffs in this lawsuit believe they were Earthgrains employees. That is
18   laughable to me. Anyone who says they did not know that they would [be] independent
19   when they bought a distributorship from Earthgrains is lying—we all knew what we were
20   getting into. Anyone who says that does not represent me and my views on my
21   business”); Dkt. 81-11 ¶ 23 (“Part of being self-employed is knowing what pace you
22   want to work at, and [independent operators] can control that by hiring employees or
23   selling off a piece of their business.”); Dkt. 81-12 ¶¶ 13, 30 (“It is a challenge. I can see
24   how other [independent operators] have failed with that sales area, but my business has
25   done fairly well with it. You have to think a lot about how to properly manage your
26   business. . . . The [independent operators] who filed this lawsuit do not represent my
27   views.”); Dkt. 81-13 ¶ 22 (“I like the flexibility of running my own business. The time
28   goes by fast during the day and I make good money. I also get to create relationships

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 1   with people, which I like doing. And other than meeting the windows requested by the
 2   grocery stores, I have a flexible schedule.”); Dkt. 81-14 ¶¶ 16, 20 (“I don’t like that my
 3   business can get a breach letter from something that an employee did, but I understand
 4   why because I am an independent contractor and he is my business’s employee. . . . I like
 5   working at my own pace and not having a boss over my shoulder telling me what to do,
 6   making sure I am working all the time, etc. . . . I also like the money—I make more
 7   running my business than a lot of employees make doing the same kind of work. . . . I am
 8   happy being an [independent operator]; I would not want to be an employee and the
 9   plaintiffs do not represent my interests.”).)
10

11         The superiority inquiry is not a simple matter of which side produces more
12   declarations. However, the quantity and vehemence of declarations produced by
13   Defendants, in contrast with the paucity produced by the Plaintiffs despite extensive
14   efforts, (see Dkt. 81-20 at 111–13 (Plaintiff Rudy Urena sent many emails and text
15   messages to other Distributors about participating in the lawsuit, as well as putting up
16   flyers and holding three meetings)), supports the Court’s conclusion that a class action is
17   not a superior method for adjudicating Plaintiffs’ claims. More than half of the
18   declarations submitted by Defendants indicate affirmatively that Distributors have an
19   interest in controlling individually whether or not they seek judicial evaluation of their
20   categorization as independent contractors. (See, e.g., Dkt. 81-4 ¶ 25 (“I like running my
21   own business, and I would not want to be an employee.”); Dkt. 81-5 ¶ 28 (“The plaintiffs
22   who want to be employees do not represent my views.”); Dkt. 81-6 ¶ 33 (“If they wanted
23   to be employees, they should have gone elsewhere. I operate a successful business, and
24   the [independent operators] who filed this lawsuit do not represent my views or my
25   interests.”); Dkt. 81-7 ¶ 21 (“The plaintiffs who want to be employees do not represent
26   my views. I worry that the lawsuit might affect the value of my business, which I have
27   worked hard to build.”); Dkt. 81-9 ¶ 20 (“I worry about things that might affect the value
28   of my route, like this lawsuit. The [independent operators] who filed this lawsuit do not

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 1   represent my viewpoints or interests. I am an independent business owner and am treated
 2   as such by Earthgrains”); Dkt. 81-12 ¶ 30 (“I received a call from the Plaintiffs’ attorney
 3   in this lawsuit, but I don’t want to be involved in their lawsuit and told the attorneys so.
 4   The [independent operators] who filed this lawsuit do not represent my views or my
 5   interests.”); Dkt. 81-13 ¶ 20 (“I am happy being an [independent operator]; I would not
 6   want to be an employee and the plaintiffs do not represent my interests.”).) While those
 7   Distributors’ interests could be vindicated through opting out post-certification, the Court
 8   frankly believes that it would be undesirable to certify a class purportedly to resolve all
 9   Distributors’ legal claims only to likely face the need to decertify the class due to opt
10   outs.
11

12           The Court does not doubt the sincerity of Plaintiffs’ belief that Defendants illegally
13   miscategorized them as independent contractors and, as such, they are owed substantial
14   damages. The Court also does not cast any aspersions on the seriousness of Plaintiffs’
15   allegations, given the important role employment law serves to protect employees.
16   However, the Court cannot conclude that, based on the evidence before it, a class action
17   is a superior method of adjudicating their claims instead of allowing Plaintiffs to
18   vindicate their claims through individual litigation, joined by any Distributors who
19   sincerely agree with them.
20

21   //
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 1   V. CONCLUSION
 2

 3          For the foregoing reasons, Plaintiff’s motion for class certification is DENIED.4
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 5

 6          DATED:         July 19, 2017
 7                                                       __________________________________
 8                                                               CORMAC J. CARNEY
 9                                                       UNITED STATES DISTRICT JUDGE
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       Defendants have filed an ex parte application to file a sur-reply brief, (Dkt. 86), which Plaintiffs
     oppose, (Dkt. 87). The application is DENIED. Defendants, without seeking leave of the Court or
26
     providing an explanation, fuled an opposition brief to Plaintiff’s motion that was twenty percent longer
27   than the number of pages allowed by the local rules. (See Dkt. 80; L.R. 11-6.) The Court does not see
     any good cause to justify allowing Defendants an additional ten pages of briefing, (see Dkt. 86 Ex. A
28   (proposed sur-reply)), and reminds Defendants that their compliance with the Local Rules is not
     discretionary but is mandatory.
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